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            12   GOOGLE INC.
                                            UNITED STATES DISTRICT COURT
            13
                                           NORTHERN DISTRICT OF CALIFORNIA
            14
                                               SAN FRANCISCO DIVISION
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            16
                 ORACLE AMERICA, INC.,                        Case No. 3:10-cv-03561-WHA
            17
                                                 Plaintiff,   DECLARATION OF MICHAEL S. KWUN
            18                                                IN SUPPORT OF DEFENDANT GOOGLE
                        v.                                    INC.’S MOTION FOR SUMMARY
            19                                                JUDGMENT ON COUNT VIII OF
                 GOOGLE INC.,                                 PLAINTIFF ORACLE AMERICA’S
            20                                                AMENDED COMPLAINT
                                               Defendant.
            21                                                Judge:     Hon. William Alsup

            22                                                Hearing:   2:00 p.m., September 15, 2011

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573529.01               KWUN DECL. ISO GOOGLE’S MSJ ON ORACLE’S COPYRIGHT INFRINGEMENT CLAIM
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             1          I, Michael S. Kwun, declare as follows:

             2          1.      I am of counsel at the law firm of Keker & Van Nest LLP, counsel to Google Inc.

             3   in the present case. I submit this declaration in support of Defendant Google Inc.’s Motion for

             4   Summary Judgment on Count VIII of Plaintiff Oracle America, Inc.’s Amended Complaint. I

             5   make this declaration based on my own personal knowledge. If called as a witness, I could and

             6   would testify competently to the matters set forth herein.

             7          2.      Attached hereto are true and correct copies of the following documents:

             8                      Exhibit A. Plaintiff’s Amended Complaint for Patent and Copyright

             9                                 Infringement (without exhibits), filed on October 27, 2010.

            10                      Exhibit B. Exhibit H to Plaintiff’s Amended Complaint for Patent and

            11                                 Copyright Infringement, filed on October 27, 2010.

            12                      Exhibit C. Excerpts from Plaintiff’s Supplemental Responses to Defendant’s

            13                                 Interrogatories, Set No. 1 (Interrogatories Nos. 1-10), served on

            14                                 July 29, 2011.

            15                      Exhibit D. Exhibits A-E to Plaintiff’s Responses to Defendant’s

            16                                 Interrogatories, Set No. 1 (Interrogatories Nos. 1-10), served on or

            17                                 about January 6, 2011.

            18                      Exhibit E. Excerpts from the transcript of proceedings in this case on

            19                                 February 9, 2011.

            20                      Exhibit F. Excerpts from the Court’s July 22, 2011 Order Granting In Part

            21                                 Motion to Strike Damage Report of Plaintiff Expert Iain Cockburn.

            22                      Exhibit G. The September 20, 1994 Prepared Testimony of Sun

            23                                 Microsystems, Inc.’s Chief Technical Officer to the Senate

            24                                 Judiciary Committee, Antitrust, Technology and Law

            25                                 Subcommittee, as reported by the Federal News Service and

            26                                 downloaded from Lexis-Nexis.

            27                      Exhibit H. A document titled, “PROPOSAL : Apache Harmony - J2SE 5

            28                                 Project,” downloaded from http://mail-

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             1                                   archives.apache.org/mod_mbox/harmony-

             2                                   dev/200505.mbox/%3C3923A844-DEC5-4CC2-ADED-

             3                                   B1F144BB6AF5@apache.org%3E.

             4                        Exhibit I. A document titled, “Apache Harmony - Compatibility goals in the

             5                                   Apache Harmony Classlib,” downloaded from

             6                                   http://harmony.apache.org/subcomponents/classlibrary/compat.htm

             7                                   l.

             8                        Exhibit J. A document titled, “Apache Harmony - Frequently Asked

             9                                   Questions,” downloaded from http://harmony.apache.org/faq.html.

            10                        Exhibit K. A document titled, “GNU Classpath Hacker’s Guide: GNU

            11                                   Classpath Hacker’s Guide,” downloaded from

            12                                   http://www.gnu.org/software/classpath/docs/cp-hacking.html.

            13                        Exhibit L. A document dated November 5, 2007, titled “Jonathan’s Blog.”

            14                        Exhibit M. A document dated November 5, 2007, titled “Is a Java power play

            15                                   lurking beneath Google’s Open Handset Alliance? | ZDNet,”

            16                                   downloaded from http://www.zdnet.com/blog/btl/is-a-java-power-

            17                                   play-lurking-beneath-googles-open-handset-alliance/6900.

            18                        Exhibit N. Counsel for Oracle’s February 18, 2011 letter to the Court in

            19                                   opposition to Google’s request for leave to file a motion for

            20                                   summary judgment on Oracle’s copyright infringement claim.

            21                        Exhibit O. Excerpts from Plaintiff’s Responses to Defendant’s Interrogatories,

            22                                   Set No. 1 (Interrogatories Nos. 1-10), served on or about January

            23                                   6, 2011.

            24           3.      No exhibits were attached to Plaintiff’s Supplemental Responses to Defendant’s

            25   Interrogatories (Exhibit C to this declaration), so I understand the references therein to Exhibits

            26   A-E to refer to the exhibits to Plaintiff’s original responses to those interrogatories (Exhibit D to

            27   this declaration).

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             1                 I declare under penalty of perjury that the foregoing facts are true and correct.

             2   Executed on August 1, 2011 in San Francisco, California.

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             4                                                       /s/ Michael S. Kwun
                                                                     Michael S. Kwun
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                                              CASE NO. 3:10-cv-03561-WHA
